
60 So.3d 409 (2011)
C.D.M., Mother of K.N.M., a minor child, Appellant,
v.
K. and N.R., Jr., Appellee.
No. 1D10-2919.
District Court of Appeal of Florida, First District.
January 18, 2011.
Crystal McBee Frusciante of the Crystal McBee Law Firm, P.A., Jupiter, and Susan Barber, Assistant Regional Conflict Counsel, Office of Criminal Conflict and Civil Regional Counsel, Region One, Tallahassee, for Appellant.
Michael Massey of Massey &amp; Duffy, LLC, Gainesville, for Appellee.
PER CURIAM.
Appellant, C.D.M., appeals from an order terminating her parental rights. It appears that sufficient proof was presented to support a determination that the parental rights of Appellant should be terminated. However, we cannot conduct an appropriate appellate review because the *410 statutory factors enumerated in section 39.810, Florida Statutes, are not addressed in the written order and the trial court did not make any oral findings as to these factors at the hearing. The order on appeal is also silent as to whether termination of Appellant's parental rights was the least restrictive means of protecting the child from future harm. We therefore reverse the order terminating parental rights and remand for entry of an order containing the necessary findings of fact pursuant to section 39.810 and for reconsideration of any less restrictive alternatives before any final determination is reached with respect to termination. J.S. v. Fla. Dep't of Children &amp; Families, 18 So.3d 1170, 1178 (Fla. 1st DCA 2009); T.O. v. L.S., 954 So.2d 737 (Fla. 1st DCA 2007); S.S. v. D.L., 944 So.2d 553, 557 (Fla. 4th DCA 2007).
REVERSED and REMANDED.
BENTON, C.J., DAVIS and THOMAS, JJ., concur.
